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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN
                         Southern Division

TERRI LEE NICHOLS on behalf of               :
herself and others similarly situated,       : CIVIL ACTION FILE NO. 4:23-
                                             : cv-10473-FKB-APP
      Plaintiff,                             :
                                             :
v.                                           :
                                             : Honorable F. Kay Behm
ACCRETIVE CAPITAL LLC DBA                    :
BENZINGA                                     :
                                             :
      Defendant.                             :
                                         /
PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
      OR STRIKE THE PLAINTIFF’S CLASS ALLEGATIONS
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                  STATEMENT OF ISSUES PRESENTED

  1. Does the Plaintiff’s complaint sufficiently allege Article III harm after she
     received repeated unsolicited telemarketing calls on a number she registered
     on the National Do Not Call Registry from a company she had no
     relationship with?

     Plaintiff’s Response: Yes.

  2. Since it is plausible (and the Plaintiff submits likely) that the Plaintiff’s
     proposed class will be certified, does the Plaintiff get to conduct discovery
     regarding Benzinga’s telemarketing conduct instead of her class allegations
     being stricken prior to the commencement of discovery?

     Plaintiff’s Response: Yes.
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          STATEMENT OF MOST APPROPRIATE AUTHORITY

Federal Statutes

47 U.S.C. § 227

Federal Regulations

47 C.F.R. §§ 64.1200

Federal Cases

Spokeo, Inc. v. Robins, 578 U.S. 330, 338 136 S. Ct. 1540, 1547, 194 L. Ed. 2d 635
(2016).

Melito v. Experian Mktg. Sols., Inc., 923 F.3d 85, 88, 92-94 (2d Cir. 2019).

Chapman v. Nat'l Health Plans & Benefits Agency, LLC, No. 22-10229, 2022 U.S.
Dist. LEXIS 138916, at *4-7 (E.D. Mich. Aug. 4, 2022)

Susinno v. Work Out World Inc., 862 F.3d 346 (3d Cir. 2017).

Imhoff Inv., L.L.C. v. Alfoccino, Inc., 792 F.3d 627, 633 (6th Cir. 2015).

In re American Medical Systems, Inc., 75 F.3d 1069, 1079 (6th Cir. 1996)

Bridging Cmtys. Inc. v. Top Flite Fin. Inc., 843 F.3d 1119, 1126 (6th Cir. 2016)

Rosenberg v. LoanDepot.com LLC, 435 F. Supp. 3d 308, 318 (D. Mass. 2020)
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            INTRODUCTION AND SUMMARY OF ARGUMENT

      Plaintiff Terri Lee Nichols (“Plaintiff” or “Ms. Nichols”) took the

affirmative step of registering her telephone number on the National Do Not Call

Registry, which is designed to prevent the receipt of unwanted telemarketing calls.

Despite her registration, the defendant Accretive Capital LLC d/b/a Benzinga

(“Benzinga” or “Defendant”) placed at least twenty telemarketing call text

messages to her residential cellular telephone number. Benzinga has now moved to

dismiss her claim or strike her allegations regarding the class of similarly situated

individuals that she seeks to represent, both of which should be denied.

      First, Ms. Nichols has pled sufficient Article III harm when her telephone

number received more than 25 telemarketing calls after she had registered that

number on the National Do Not Call Registry. The Plaintiff has alleged that her

telephone line received multiple unwanted and invasive telemarketing calls in

violation of the Telephone Consumer Protection Act. These allegations clear the

“low hurdle” that is Article III standing, as recognized by every appellate court to

consider the issue in the context of telemarketing calls under the TCPA to numbers

on the National Do Not Call Registry as well as other district courts in the Sixth

Circuit.
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       Second, Ms. Nichols class allegations should not be stricken at this stage. As

courts around the country have held in TCPA cases, it will be discovery that will

determine if the plaintiff’s class is amenable to class certification, as most TCPA

cases are. As one court summarized while certifying a TCPA class: “in the context

of the TCPA, the class action device likely is the optimal means of forcing

corporations to internalize the social costs of their actions.” Bee, Denning, Inc. v.

Capital Alliance Grp., 310 F.R.D. 614, 630 (S.D. Cal. 2015) (certifying two class

under the TCPA). Benzinga’s assertion that the Plaintiff’s class definition is

failsafe relies on their claim that the Plaintiff’s class definition is limited to

unauthorized calls on its face, which it simply does not do.

       As such, the Defendant’s motion should be denied.1




1
  Benzinga also attacks the Plaintiff’s complaint because the complaint “fails even
to mention the words ‘automatic telephone dialing system’” and attempts to
dismiss that claim. See ECF No. 9 at * 11. The Plaintiff agrees that her complaint
does not mention an “automatic telephone dialing system” (“ATDS”) and that’s
with good reason, as the Plaintiff is not alleging a claim for relief related to the
Defendant’s potential use of an ATDS and as such, the Defendant’s motion to
dismiss a claim that is not pled should be denied.
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              BACKGROUND AND PLAINTIFF’S ALLEGATIONS

      With respect to the National Do Not Call Registry, the Fourth Circuit Court

of Appeals has explained, “Telemarketing calls are intrusive. A great many people

object to these calls, which interfere with their lives, tie up their phone lines, and

cause confusion and disruption on phone records. Faced with growing public

criticism of abusive telephone marketing practices, Congress enacted

the Telephone Consumer Protection Act of 1991. Pub. L. No. 102-243, 105 Stat.

2394 (1991) (codified at 47 U.S.C. § 227)…The law opted for a consumer-driven

process that would allow objecting individuals to prevent unwanted calls to their

homes. The result of the telemarketing regulations was the national Do-Not-Call

registry. See 47 C.F.R. § 64.1200(c)(2). Within the federal government’s web of

indecipherable acronyms and byzantine programs, the Do-Not-Call registry stands

out as a model of clarity. It means what it says. If a person wishes to no longer

receive telephone solicitations, he can add his number to the list….Violations of

the law are clear, as is the remedy. Put simply, the TCPA affords relief to those

persons who, despite efforts to avoid it, have suffered an intrusion upon their

domestic peace.” Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 649-50 (4th

Cir. 2019).
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      Here, Ms. Nichols alleges that Benzinga violated the TCPA by making

telemarketing calls to numbers on the National Do Not Call Registry, including her

own. Ms. Nichols residential telephone number is (408) 766-XXXX. See ECF No.

1 at ¶ 19. That number had been on the National Do Not Call Registry for at least

30 days prior to the date the calls were received and it has not been removed from

the Registry since that time. Id. at ¶ 22. Ms. Nichols has never done any business

with the Defendant. Id. at ¶ 23.

      Despite this, Ms. Nichols received text messages from the Defendant on

September 29, October 10, 15, 25, 26, 27, 29, 30 November 2, 3, 17, 18, 19, 20

(multiple texts), 21, 22, 23, 24, and 25, 27, 28, 29, 30 (multiple texts), December 2,

3, 4, 5, 6, 7 and 14, 2022. Id. at ¶ 25. The text messages all had similar content and

some of them are below:
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Id. at ¶ 26. Due to the en masse nature of telemarketing calls, the Plaintiff has

brought this action on behalf of the following putative class:

             National Do Not Call Registry Class: All persons in the United
             States whose (1) telephone numbers were on the National Do Not Call
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               Registry for at least 31 days, (2) but who received more than one
               telemarketing call from or on behalf of Defendant, (3) within a 12-
               month period, (4) at any time in the period that begins four years
               before the date of filing this Complaint to trial.

Id. at ¶ 31.

                                    ARGUMENT

   1. The Plaintiff has Alleged Sufficient Article III Harm as Violations of the
      TCPA by Making Multiple Telemarketing Calls to Numbers on the
      National Do Not Call Registry have been Nearly Universally Recognized
      by Courts to Establish Article III Standing.

       To establish Article III standing, the Supreme Court has held that the

plaintiff must establish an injury in fact, traceable to the challenged conduct of the

defendant, and a favorable judgment must be likely to redress that injury. Spokeo,

Inc. v. Robins, 578 U.S. 330, 338 136 S. Ct. 1540, 1547, 194 L. Ed. 2d 635 (2016).

An injury in fact exists if a plaintiff shows "he or she suffered 'an invasion of a

legally protected interest' that is 'concrete and particularized' and 'actual or

imminent, not conjectural or hypothetical." Id at 339. (quoting, Lujan v. Defenders

of Wildlife, 504 U.S. 555, 560-561, 112 S.Ct. 2130, 119 L.Ed.2d 351).

       Where the injury asserted is an intangible interest, as is the case here, courts

are required to examine both the history of the injury and Congressional judgment

to determine whether Article III standing is satisfied. Spokeo, 578 U.S. at 340-

342; Buchholz v. Tanick, 946 F.3d 855 (6th Cir. 2020) (dismissal of Fair Debt
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Collection Act claim for lack of Article III standing affirmed where plaintiff failed

to show he suffered a harm Congress intended to prevent or that his injury is

analogous to a harm that the common law recognizes). In the case of the TCPA,

the common law recognizes claims based on privacy and nuisance and the

"solitude of another by committing the 'tort of intrusion upon seclusion," Gadelhak

v. AT&T Servs., Inc., 950 F.3d 458, 462 (7th Cir. 2020) (Barrett, J.) (citation

omitted), and Congress, in passing the TCPA, determined that "[u]nrestricted

telemarketing ... can be an intrusive invasion of privacy" and a "nuisance." Pub. L.

No. 102-243, § 2, 105 Stat. 2394, 2394 (1991).

      Since Spokeo, district courts have repeatedly held that plaintiffs who allege

under the TCPA that telephone calls or text messages invade their privacy or are a

nuisance have established Article III standing. See Adam v. CHW Grp., Inc., No.

21-CV-19-LRR, 2021 U.S. Dist. LEXIS 170620, at *1 (N.D. Iowa Sep. 9, 2021)

(“The vast majority of post-Spokeo Telephone Consumer Protection Act (TCPA)

cases have concluded that the invasion of privacy, annoyance and wasted time

associated with robocalls is sufficient to demonstrate concrete injury. Further, most

courts find that the receipt of even one unwanted call is generally enough to clear

U.S. Const. art. III's low bar for concrete injury. Statutory violations of

the TCPA constitute concrete injuries that confer Article III standing.”) Indeed, as
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the Third Circuit has also explained in holding that receipt of an unanswered

prerecorded voicemail was sufficient to confer standing:

      “[C]ourts benefit from straightforward rules under which they can
      readily assure themselves of their power to hear a case.” Hertz Corp.
      v. Friend, 559 U.S. 77, 94, 130 S. Ct. 1181, 175 L. Ed. 2d 1029 (2010).
      Our opinion today repeats our “understand[ing] that the Spokeo Court
      meant to reiterate traditional notions of standing.” Horizon, 846 F.3d
      at 638. And the traditional notion of standing requires only that
      claimant allege some specific, identifiable trifle of injury. Where a
      plaintiff’s intangible injury has been made legally cognizable through
      the democratic process, and the injury closely relates to a cause of
      action traditionally recognized in English and American courts,
      standing to sue exists.

Susinno v. Work Out World Inc., 862 F.3d 346, 352 (3d Cir. 2017). See also

Parchman v. SLM Corp., 896 F.3d 728, 738-739 (6th Cir. 2018) (“The primary

purpose of the TCPA was to protect individuals from the harassment, invasion of

privacy, inconvenience, nuisance, and other harms associated with unsolicited,

automated calls. The Congressional findings focus on exactly these kinds of

individual wrongs.”).

      Ms. Nichols alleges at multiple places in her complaint that the calls were an

unwanted privacy and nuisance. See ECF No. 1 at ¶ 23-25 (Ms. Nichols’s never

did business with the Defendant or provided her consent for them to make

telemarketing calls to her, and despite that they sent her more than 25 solicitation

text messages); ¶ 30 (“All class members (including Ms. Nichols, who is a class
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member) have had their privacy invaded through receipt of the telemarketing

calls.”).

       The Ninth Circuit's opinion concerning a similar TCPA claim is

instructive. In Van Patten v. Vertical Fitness Group, LLC, 847 F.3d 1037 (9th Cir.

2017), the defendants argued that the plaintiff had not established the concrete

injury in fact necessary to pursue his TCPA claim in light of Spokeo. Id. at

1042. The Ninth Circuit disagreed, explaining: "[B]oth history and the judgment of

Congress play important roles in supporting our conclusion that a violation of

the TCPA is a concrete, de facto injury." Id. at 1043. Specifically, the Ninth Circuit

reasoned: "The TCPA establishes the substantive right to be free from certain types

of phone calls and texts absent consumer consent. Congress identified unsolicited

contact as a concrete harm, and gave consumers a means to redress the harm." The

Second Circuit also concurs, observing that receipt of unsolicited text messages,

just like those at issue here, “sans any other injury,” was sufficient to confer

standing, as that is precisely the harm that Congress targeted in passing the TCPA.

Melito v. Experian Mktg. Sols., Inc., 923 F.3d 85, 88, 92-94 (2d Cir. 2019). Here,

Ms. Nichols placed her number on the National Do Not Call Registry so she could

be free of unwanted telemarketing calls. Despite that, Benzinga called her more

than two dozen times with solicitation messages.
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      Defendant’s reliance on the Supreme Court’s decision in TransUnion LLC v.

Ramirez, 141 S. Ct. 2190 (2021) is wholly misplaced. TransUnion involved

claims under the Fair Credit Reporting Act (“FCRA”) for a class who asserted that

they had inaccurate information placed in their credit files in violation of the

FCRA. TransUnion states only certain statutory claims that have common law

analogues present a sufficiently concrete injury-in-fact sufficient to support Article

III standing. The Supreme Court however, drew a distinction between the Fair

Credit Reporting Act and the TCPA, citing a TCPA decision authored by then

Seventh Circuit Judge Barrett, recognizing "intrusion upon seclusion" as a harm

"traditionally recognized as providing a basis for [a] lawsuit[] in American

courts." TransUnion LLC, 141 S. Ct. at 2204 (citing TCPA case Gadelhak v. AT&T

Servs., Inc., 950 F.3d 458, 462 (7th Cir. 2020) (Barrett, J.), cert denied, 209 L. Ed.

2d 568, 2021 WL 1521010 (U.S. 2021)). Gadelhak makes it clear that it is the

nature of the violation of the TCPA that gives rise to Article III standing because it

had a common law analogue. See Gadelhak v. AT&T Servs., 950 F.3d at 461-63.

The Sixth Circuit is in accord: "Congress may choose to 'identify[ ] and elevat[e]'

certain intangible, concrete harms by statute," as it has chosen to do with

the TCPA.” In re Amedisys Holding, LLC, No. 19-0510, 2020 U.S. App. LEXIS

6364, at *3 (6th Cir. Feb. 28, 2020) (citing Buchholz v. Meyer Njus Tanick, PA,
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946 F.3d 855, 867 (6th Cir. 2020) (in turn citing Spokeo, Inc. v. Robins, 136 S. Ct.

1540, 194 L. Ed. 2d 635 (2016)).

      As with a published violation of inaccurate credit information, no additional

proof of harm (such as looking at each message and being wildly annoyed) is

needed to satisfy Article III standing for a class of TCPA call recipients, for which

there is no legitimate proof of consent, because of the tie to a recognized common

law harm. Ms. Nichols’s telephone line received these unwanted calls, she has

sufficiently alleged her harm.

      The Sixth Circuit’s decision in Ward v. Nat'l Patient Account Servs. Sols.,

No. 20-5902, 2021 U.S. App. LEXIS 24369 (6th Cir. Aug. 16, 2021) highlights the

distinction between a TCPA claim, designed to protect privacy rights, and a purely

procedural claim requiring a debt collector to disclose its identity in collecting a

debt. The Sixth Circuit held: “the mere failure to provide certain information does

not mirror an intentional intrusion into the private affairs of another. Indeed, Ward

alleged in his complaint that NPAS, Inc.'s violation, i.e., the use of an abbreviated

name, confused him, not that it invaded his privacy.” Ward, 2021 U.S. App.

LEXIS 24369, at *9. Plaintiff, by contrast, sued for a violation of the TCPA

specifically alleging in her Complaint that her privacy rights, and those of her
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proposed class, had been invaded, which is directly analogous to an intrusion on

seclusion, a traditionally recognized common law claim.

      Finally, Defendant’s reliance on an Eleventh Circuit decision, Salcedo v.

Hanna, 936 F.3d 1162 (11th Cir. 2019) should be ignored. In Salcedo, the plaintiff

alleged a violation of the TCPA based on the receipt of a single unsolicited text

message. Most notably, this case does not involve a single text message, but

instead the receipt of more than twenty telemarketing texts to a number that was

registered on the National Do Not Call Registry. Indeed, the Eleventh Circuit

addressed TCPA like those alleged here in Cordoba v. DIRECTV, LLC, 942 F.3d

1259, 1263 (11th Cir. 2019), where the Eleventh Circuit plainly held, “The receipt

of more than one unwanted telemarketing call made in violation of the provisions

enumerated in the Telephone Consumer Protection Act, 47 U.S.C.S. § 227, is

a concrete injury that meets the minimum requirements of U.S. Const. art. III

standing.”. The Eleventh further discussed the difference between Salcedo and

Cordoba in Glasser v. Hilton Grand Vacations Co., 948 F.3d 1301, 2020 WL

415811 (11th Cir. 2020):

      A real injury remains necessary. But a recent decision, as it happens,
      resolves the point for the plaintiffs. "The receipt of more than one
      unwanted telemarketing call," the court concluded, "is a concrete injury
      that     meets     the    minimum       requirements      of     Article
      III standing." Cordoba, 942 F.3d at 1270. We appreciate that the point
      is close, as another decision of the court suggests. See Salcedo v.
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      Hanna, 936 F.3d 1162, 1168 (11th Cir. 2019). But Cordoba resolves it,
      establishing an Article III injury and giving plaintiffs standing to bring
      these claims.

If this Court is inclined to follow the Eleventh Circuit, it should follow the

Eleventh Circuit opinion that actually addresses the type of calling conduct in this

case in Cordoba.2

      The harms alleged here are the exact types of harm courts within this circuit

have found sufficient even after Spokeo and are consistent with Ms. Nichols’s

allegations about the calls being unwanted. Indeed, Judge Michelson conducted a

similar analysis when denying a substantively similar motion to dismiss in

Chapman v. Nat'l Health Plans & Benefits Agency, LLC, No. 22-10229, 2022 U.S.

Dist. LEXIS 138916, at *4-7 (E.D. Mich. Aug. 4, 2022):

      Here, NHP claims that Chapman's injury is not particularized because
      "she has not alleged any facts showing that she suffered any harm
      whatsoever from any of the four calls." (ECF No. 7, PageID.46.) But
      this does not construe the allegations in the light most favorable to
      Chapman. Chapman alleges [*5] that NHP's phone calls went directly
      to her personal phone line… And the Court infers that Chapman was
      annoyed, frustrated, or confused by the calls enough to have her
2
  Indeed, the Eleventh Circuit is even potentially revisiting Salcedo after agreeing
to hear a similar case en banc. See Simpson v. J.G. Wentworth Co., No. 8:23-cv-
152-KKM-AEP, 2023 U.S. Dist. LEXIS 67176, at *3 (M.D. Fla. Apr. 17, 2023)
(“In her petition for rehearing en banc, Drazen requested that the court ‘reevaluate
the Salcedo holding" and "clarify the law regarding the elements necessary to
pursue a TCPA claim.’”, citing Drazen v. Pinto, 41 F.4th 1354 (11th Cir.
2022), reh'g en banc granted, opinion vacated, 61 F.4th 1297 (11th Cir. 2023).
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      husband answer the third one and have an attorney write a letter to
      NHP, requesting that it stop calling her. Therefore, the injury affected
      her individually even if, as NHP argues, Chapman did not answer the
      calls…

      NHP also claims that Chapman has alleged a mere procedural harm
      rather than a concrete harm because Chapman did not answer any of
      the four phone calls nor did she plead that she "heard" any of the four
      calls. (ECF No. 7, PageID.48.) In other words, NHP argues that
      Chapman does not have standing if her only alleged injury was that
      NHP violated the TCPA with respect to her phone number.

      Here, the alleged TCPA violations reflect a common-law injury
      elevated by Congress. The TCPA was passed into law in 1991 to
      "protect the privacy interests of residential telephone subscribers by
      placing restrictions on unsolicited, automated telephone calls." S. REP.
      102-178 (codified at 47 U.S.C. § 227). It has even been said that the
      TCPA, which was "enacted . . . to protect consumers from the
      annoyance, irritation, and unwanted nuisance of telemarketing phone
      calls, grant[s] protection to consumers' identifiable concrete interests in
      preserving their rights to privacy and seclusion." Bowman v. Art Van
      Furniture, Inc., No. 17-11630, 2018 U.S. Dist. LEXIS 207678, at *9
      (E.D. Mich. Dec. 10, 2018) (quoting Aranda v. Caribbean Cruise Line,
      Inc., 202 F. Supp. 3d 850, 858 (N.D. Ill. 2016)). The Sixth Circuit
      has [*8] also recognized that Congress has, through the TCPA,
      identified and elevated certain intangible, concrete harms. See In re
      Amedisys Holding, LLC, No. 19-0510, 2020 U.S. App. LEXIS 6364, at
      *3 (6th Cir. Feb. 28, 2020) ("[N]ot all procedural violations open the
      door to federal court. But some do, even when the procedural violation
      causes only an intangible injury." (emphasis in original)). Indeed, in the
      context of fax advertisements, the Sixth Circuit has found that "viewing
      or printing a fax advertisement is not necessary to suffer a violation of
      the statutorily-created right to have one's phone line and fax machine
      free of the transmission of unsolicited advertisements." Imhoff Inv.,
      L.L.C. v. Alfoccino, Inc., 792 F.3d 627, 633 (6th Cir.
      2015). Though Imhoff was decided a year before Spokeo, courts in the
      Sixth     Circuit     have     recognized     that Imhoff is    consistent
      with Spokeo because occupying a fax or telephone line is a concrete
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      injury. See, e.g., Swetlic Chiropractic & Rehab. Ctr., Inc. v. Foot
      Levelers, 235 F. Supp. 3d 882, 888 (S.D. Ohio 2017).

      Turning to history, TCPA violations mirror traditional common-law
      injuries like invasion of privacy, showing a "close relationship" to a
      traditional concrete harm…This "close relationship" is also present
      here. Chapman likewise alleges that the four calls placed by NHP to her
      personal phone line invaded her privacy. (ECF No. 1, PageID.9.) The
      definition of invasion of privacy is an "[intentional intrusion],
      physically or otherwise, upon the solitude . . . of another." Restatement
      (Second) of Torts § 652B; see also Ward, 9 F.4th at 362. NHP's calls to
      Chapman plausibly fit within this definition. Chapman was on the
      National Do Not Call Registry and she contacted counsel to ask NHP
      to stop calling her after the third call. (ECF No. 1, PageID.7-8.)…

      Distinct from Ward, there is a closer relationship between Chapman's
      alleged injury (multiple unwanted automated phone calls) and the
      common law harm of invasion of privacy. The unwanted automated
      calls gave Chapman a cause of action through the TCPA and invaded
      Chapman's privacy. Chapman made it clear that she did not want
      telemarketers calling. She did not consent to NHP calling her. (ECF No.
      1, PageID.9.) She registered on the National Do Not Call Registry so
      she would not get telemarketing calls. (Id. at PageID.7.)…By
      disregarding that and calling her personal phone, NHP intruded on
      Chapman's private cell phone line…Because the statutory violation is
      closely related to the common-law injury, the Court finds that
      Chapman's injury resembles a close relationship to common-law harms.
      Thus, both congressional judgment and history show that Chapman's
      alleged injuries are concrete for standing purposes…In sum, the Court
      finds that Chapman's alleged injury is closely related to the traditional
      common-law harm of invasion of privacy. Thus, at this stage, Chapman
      has alleged a concrete injury, and has standing to pursue her claims.
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Notably in Chapman, the Plaintiff did not even answer the calls. Here, Ms. Nichols

was relentlessly texted on her own cellular telephone line despite taking the time to

register it on the National Do Not Call Registry.

   2. The Plaintiff’s Class is Not Failsafe and Should not be Stricken Prior to
      Discovery.
      Although a court may strike class allegations prior to a class certification

motion being filed, it is only appropriate “where the complaint itself demonstrates

that the plaintiff cannot meet the requirements for maintaining a class action.”

Glass v. Tradesmen Int'l, LLC, 505 F. Supp. 3d 747, 764 (N.D. Ohio 2020)

(citation omitted; emphasis added). "A motion to strike class allegations is not a

substitute for class determination and should not be used in the same

way." Wainess v. Smilemakers, Inc., No. 18-12177, 2018 U.S. Dist. LEXIS

216404, at *11-12 (E.D. Mich. Dec. 27, 2018). “Such motions are

generally premature because ‘[w]ithout further insight [*12] into the facts, the

Court lacks the foundation to conduct the rigorous analysis' required by Rule

23 and determine the appropriateness of class certification." Id.

      This is because a court must “conduct a rigorous analysis” into whether the

requisites of Rule 23 have been met prior to ruling on whether class certification is

appropriate. See In re American Medical Systems, Inc., 75 F.3d 1069, 1079 (6th Cir.
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1996) (citation omitted). Indeed, the Sixth Circuit has forcefully rejected such

speculation permitting class allegations to be stricken prior to any discovery in a

TCPA case in Bridging Cmtys. Inc. v. Top Flite Fin. Inc., 843 F.3d 1119, 1126 (6th

Cir. 2016) (holding in a TCPA case that “the mere mention of a defense is not enough

to defeat the predominance requirement of Rule 23(b)(3)” and that “allowing such

speculation to dictate the outcome of a class-certification decision would afford

litigants in future cases wide latitude to inject frivolous issues to bolster or

undermine a finding of predominance.”).

      Benzinga’s motion focuses on its assertion that the Plaintiff’s class definition

only relies on unauthorized calls. See ECF No. 9 at *19. In rejecting the same

argument previously in a TCPA case, another Court held:

      The Court finds that the defendant's motion to strike the class
      allegations is premature before plaintiff can develop the factual record
      through discovery. Loan Depot's citation of consent as a potential
      affirmative defense is insufficient to warrant striking the putative class
      solely on the pleadings. The motion to strike class allegations will,
      therefore, be denied.

Rosenberg v. LoanDepot.com LLC, 435 F. Supp. 3d 308, 318 (D. Mass. 2020). Even

though the Plaintiff does not believe that Benzinga obtained the appropriate prior

express written consent for its calls, Plaintiff made a conscious decision to not

include language about individuals who have not provided their “prior express

written consent” in the class definition, as other federal courts have found that to be
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an impermissible fail-safe class. In Sauter v. CVS Pharmacy, Inc., No. 2:13-cv-846,

2014 WL 1814076, at *8-9 (S.D. Ohio May 7, 2014), a court held that a TCPA

plaintiff needed to amend his class definition because he included that language in a

TCPA proposed class definition:

      Each of the Plaintiff's proposed classes is defined to include only those
      individuals who did not expressly consent to the receipt of the
      defendant's phone calls made with the use of an ATDS. Because
      the TCPA prohibits calls to cellular telephones using ATDSs unless
      prior express consent has been given, defining the class to include
      anyone who received such a call without prior express consent means
      that only those potential members who would prevail on this liability
      issue would be members of the class…However, if the Plaintiffs are
      unsuccessful in meeting their burden of proof, the class does not exist
      and the class is not bound by the judgment in favor of the
      Defendant. [*24] This is the definition of a prohibited fail-safe class.

Other courts agree. See e.g. Boyer v. Diversified Consultants, Inc., 306 F.R.D. 536

(E.D. Mich. 2015); Olney v. Job.Com, Inc., No. 1:12-CV-01724-LJO-SKO, 2013

WL 5476813 (E.D. Cal. Sep. 30, 2013). Here, the Plaintiff avoided that potentially

fatal flaw in drafting as there is no mention of consent or assertion that the only

calls included are the “unauthorized” ones, as Benzinga asserts:

      National Do Not Call Registry Class: All persons in the United States
      whose (1) telephone numbers were on the National Do Not Call
      Registry for at least 31 days, (2) but who received more than one
      telemarketing call from or on behalf of Defendant, (3) within a 12-
      month period, (4) at any time in the period that begins four years before
      the date of filing this Complaint to trial.
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See ECF No. 1 at ¶ 31. In fact the word “unauthorized” doesn’t appear in the

proposed class definition. Similarly, Benzinga’s assertion that the Plaintiff’s class

definition doesn’t articulate a theory of a violation of the TCPA is simply wrong,

as the Plaintiff’s complaint explicitly states, “Plaintiff, individually and as class

representative for all others similarly situated, brings this action against Accretive

Capital LLC d/b/a Benzinga for violations of the Telephone Consumer Protection

Act, 47 U.S.C. § 227 (“TCPA”) for making telemarketing calls to numbers on the

National Do Not Call Registry, including her own.” See ECF No. 1 at ¶ 3. Indeed,

the name of the class is the “National Do Not Call Registry Class” and the only

cause of action being pursued is “Violations of 47 U.S.C. § 227(c)(5) & 47 C.F.R.

§ 64.1200(c)(On Behalf of Plaintiff and the National Do Not Call Registry Class)”

as listed in the Plaintiff’s “First Cause of Action”, of which there is only one. See

ECF No. 1 at ¶ 47.

      Merely mentioning that discovery will reveal that you have an affirmative

defense to some class member claims is insufficient to strike class allegations, as

appellate courts have ruled in the TCPA cases, including the Sixth Circuit. See

Bridging Cmtys. Inc. v. Top Flite Fin. Inc., 843 F.3d 1119, 1126 (6th Cir. 2016)

(holding that “the mere mention of a defense is not enough to defeat the

predominance requirement of Rule 23(b)(3)” and that “allowing such speculation
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to dictate the outcome of a class-certification decision would afford litigants in

future cases wide latitude to inject frivolous issues to bolster or undermine a

finding of predominance”); Landsman & Funk PC v. Skinder-Strauss Assocs., 640

F.3d 72, 93-95 & n.30 (3d Cir. 2011) (holding that a court may deny class

certification before discovery only if the “complaint itself demonstrates that the

requirements for maintaining a class action cannot be met,” and explaining that

“in the specific context of claims filed under the TCPA statute, it is difficult to

resolve without discovery whether there are factual issues regarding class

members’ business relationships with defendants or whether they consented”).

Even at the class certification stage, evidence of a defense as to some prospective

class members does not render a class overbroad if the plaintiff demonstrates a

means of ultimately excluding consumers that are subject to the defense from the

class. See True Health Chiropractic v. McKesson Corp., 896 F.3d 923, 932-33

(9th Cir. 2018) (predominance satisfied where “the record shows . . . little or no

variation” in the forms used to obtain consent). Here, since discovery has not

commenced, there has been no showing that Benzinga made any calls with

consent or that such calls were authorized. To determine which, if any, of

Benzinga’s calls were made with appropriate permission under the TCPA,

discovery is required.
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                                 CONCLUSION

      For the reasons discussed herein, the Defendant’s Motion to Dismiss should

be Denied.



Dated: May 2, 23         PLAINTIFF, on behalf of themselves
                             and others similarly situated,


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                              Certificate of Service

      The foregoing document has been filed electronically, is available for viewing

and downloading from the ECF system, and has been served on all parties of record

via electronic service through the ECF system on May 2, 2023.

                                          /s/ Anthony Paronich
                                          Anthony Paronich
